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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PROTECT THE PUBLIC’S TRUST                           )
712 H Street, N.E.                                   )
Suite 1682                                           )
Washington, D.C. 20002,                              )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )        Civil Case No. 1:25-cv-362
                             )
U.S. AGENCY FOR INTERNATIONAL             )
DEVELOPMENT                               )
1300 Pennsylvania Avenue, NW              )
Washington, D.C. 20004,                   )
                                          )
                  Defendant.              )
_________________________________________ )

                                         COMPLAINT

       1.      Plaintiff Protect the Public’s Trust (“PPT”) brings this action against the U.S.

Agency for International Development (“USAID”) under the Freedom of Information Act, 5

U.S.C. § 552 (“FOIA”), seeking declaratory and injunctive relief to compel USAID’s compliance

with the FOIA’s requirements.

                                   JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. §§ 1331.

       3.      Venue is proper in this Court pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

1391(e).

                                             PARTIES

       4.      Plaintiff PPT is a nonprofit corporation dedicated to restoring public trust in

government by promoting the fair and equal application of the rules and standards of ethical



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conduct to all public servants. Consistent with Justice Brandeis’s aphorism that “Sunlight is said

to be the best of disinfectants, electric light the most efficient policemen,” PPT seeks to promote

transparency and broadly disseminate information so that the American people can evaluate the

integrity and ethical conduct of those who act in their name. Louis Brandeis, OTHER PEOPLE’S

MONEY       AND    HOW BANKERS       USE   IT.   (1914),   https://louisville.edu/law/library/special-

collections/the-louis-d.-brandeis-collection/other-peoples-money-chapter-v.

       5.         Defendant USAID is a federal agency within the meaning of FOIA, 5 U.S.C. §

552(f)(1). USAID has possession, custody, and control of records responsive to Plaintiff’s FOIA

request.

                                    STATEMENT OF FACTS

                                      Request 1: F-00189-22

       6.         On May 4, 2022, PPT submitted a FOIA request to USAID (attached as Exhibit A)

seeking the following records:

    1. All communications, documents, and other records from January 20, 2021 through
       the date this request is processed, from Natasha Bilimoria or any other political
       appointee regarding the inclusion of the $290 million to Gavi, the Vaccine Alliance
       to: “reach children with cost-effective vaccines to accelerate progress towards
       preventing child deaths” as mentioned in the FY 2023 President’s budget. This
       proposal was included in a White House Fact Sheet titled “FACT SHEET: The
       Biden Administration’s Historic Investment in Pandemic Preparedness and
       Biodefense in the FY 2023 President’s Budget.” 1 These records should include
           a. Any communications discussing Gavi, the Vaccine Alliance or other
               nonprofits or NGOs considered for the proposed funding both within
               USAID and between employees in USAID and staff within the White House
               Office of Science and Technology Policy (OSTP) or members of the
               Pandemic Innovation Task Force.
           b. Communications involving any political appointees within USAID,
               Natasha Bilimoria, and staff at the White House, OSTP, or the Pandemic
               Innovation Task Force regarding the mention of Gavi or the proposed
               expenditure in the White House Fact Sheet identified above.


1
 https://www.whitehouse.gov/briefing-room/statements-releases/2022/04/07/fact-sheet-the-
biden-administrations-commitment-to-global-health-in-the-fy-2023-presidents-budget/
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              c. Any records related to the development of criteria for determining eligibility
                 to receive funding to “reach children with cost-effective vaccines to
                 accelerate progress towards preventing child deaths.”

       7.        Release of these records is in the public interest because it will contribute to the

public’s understanding of USAID and senior Biden Administration officials’ efforts to promote

vaccines, including the COVID-19 vaccine, in children.

       8.        On May 4, 2022, USAID sent an email to PPT acknowledging receipt of the

request and assigning the request number #F-00189-22 (attached as Exhibit B).

       9.        On May 4, 2022, USAID sent an email to PPT saying the status of request

number #F-00189-22 had been updated to “Received” (attached as Exhibit C).

       10.       On May 4, 2022, USAID sent an email to PPT saying the status of request

number #F-00189-22 had been updated to “Assigned for Processing” (attached as Exhibit D).

       11.       On May 6, 2022, USAID sent an email to PPT saying the status of request

number #F-00189-22 had been updated to “In Process” (attached as Exhibit E).

       12.       On June 17, 2022, PPT sent USAID an email requesting a status update or

estimated timeline for producing records responsive to request number #F-00189-22 (attached as

Exhibit F).

       13.       On August 12, 2022, PPT sent USAID an email requesting a status update or

estimated timeline for producing records responsive to request number #F-00189-22 (attached as

Exhibit G).

       14.        On August 15, 2022, USAID responded to PPT’s August 12, 2022, email

identifying Samantha Anderson as the FOIA specialist assigned to the request and stating that

PPT should reach out to Ms. Anderson for future status updates.




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       15.     On December 27, 2022, PPT sent USAID an email asking if there were any new

updates on request number #F-00189-22 (see Exhibit H).

       16.     On January 3, 2023, a USAID official asked another USAID official by email to

provide an update to PPT on request number #F-00189-22 (see Exhibit H).

       17.     On January 5, 2023, a USAID official emailed PPT and said USAID would

provide an update on request number #F-00189-22 on or before January 12, 2023 (see Exhibit

H).

       18.     On January 5, 2023, a USAID official emailed PPT and said USAID was

experiencing a backlog of requests. USAID did not provide a schedule or anticipated date of

response (see Exhibit I).

       19.     The USAID has been silent regarding request number #F-00189-22 since January

5, 2023.

       20.     To date, USAID has not sent PPT a response to the request or a timeline or

estimate for when it will do so, or any other communication regarding the request.

       21.     Over 1000 days have elapsed since USAID first received request number #F-

00189-22, yet USAID still has not made a determination with respect to it. See Citizens for

Responsibility and Ethics in Washington v. FEC, 711 F.3d 180 (D.C. Cir. 2013). USAID has not

produced responsive documents to PPT, has not communicated the scope of the documents it

intends to produce or withhold—along with the reasons for any withholding—and has not

informed PPT of its ability to appeal any adverse portion of its determination.

       22.     Given these facts, USAID has not met its statutory obligations to provide the

requested records.




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          23.    Through USAID’s failure to make a determination within the time period required

by law, PPT has constructively exhausted its administrative remedies and seeks immediate judicial

review.

                                       Request 2: #F-00232-22



          24.    On June 20, 2022, PPT submitted a FOIA request to USAID (attached as Exhibit

J) seeking the following records:

          1. All communications, documents, and other records from January 20, 2021 through the
             date this request is processed, from any USAID employee regarding the inclusion of
             $500 million to the Coalition for Epidemic Preparedness Innovations (CEPI) “to
             support innovating science and technological capabilities to shorten the cycle for
             development of safe, effective, and affordable vaccines” in the FY 2023 President’s
             budget. This proposal was included in a White House Fact Sheet titled “FACT SHEET:
             The Biden Administration’s Historic Investment in Pandemic Preparedness and
             Biodefense in the FY 2023 President’s Budget. 2 These records should include:
                 a. Any communications discussing CEPI or other non-profits or NGOs considered
                     for the proposed funding both within USAID and between employees in
                     USAID and staff within the White House Office of Science and Technology
                     Policy (OSTP) or members of the Pandemic Innovation Task Force.
                 b. Any discussions among staff within USAID and between employees in USAID
                     and staff at the White House, OSTP, or the Pandemic Innovation Task Force
                     regarding the mention of CEPI or the proposed expenditure in the White House
                     Fact Sheet identified above.
                 c. Any records related to the development of criteria for determining eligibility to
                     receive funding to “support innovating science and technological capabilities to
                     shorten the cycle for development of safe, effective, and affordable vaccines.”

          25.    Release of these records is in the public interest because it will contribute to the

public’s understanding of USAID and senior Biden Administration officials’ efforts to promote

vaccines, including the COVID-19 vaccine, in children.




2
 https://www.whitehouse.gov/briefing-room/statements-releases/2022/03/28/fact-sheet-the-
biden-administrations-historic-investment-in-pandemic-preparedeness-and-biodefense-in-the-fy-
2023-presidents-budget/.
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       26.     On June 20, 2022, USAID sent an email to PPT acknowledging receipt of the

request and assigning the request number #F-00232-22 (attached as Exhibit K).

       27.     On June 20, 2022, USAID sent an email to PPT saying the status of request

number #F-00232-22 had been updated to “Received” (attached as Exhibit L).

       28.     On July 6, 2022, USAID sent an email to PPT saying that request number #F-

00232-22 was being placed on hold due to the request not adequately describing the records

sought (attached as Exhibit M).

       29.     On July 12, 2022, PPT sent USAID an email clarifying request number #F-00232-

22 (see Exhibit M).

       30.     On July 12, 2022, USAID sent PPT confirmation that it has received PPT’s

clarified request (see Exhibit M).

       31.     On July 12, 2022, USAID sent PPT an email saying the status of request number

#F-00232-22 had been updated to “Received” and “Assigned for Processing” (attached as

Exhibit N).

       32.     On September 2, 2022, PPT sent USAID an email requesting a status update #F-

00232-22 (see Exhibit M).

       33.     On September 6, 2022, USAID sent PPT an email informing PPT that request #F-

00232-22 had been assigned to FOIA specialist Samantha Anderson but did not provide an

update (see Exhibit M).

       34.     On December 27, 2022, PPT sent USAID an email requesting a status update #F-

00232-22 (see Exhibit M).

       35.     On December 27, 2022, PPT received an auto-response stating that Samantha

Anderson was no longer employed at USAID (attached as Exhibit O).



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       36.     On January 3, 2023, a USAID representative directed PPT’s request for an update

to another staff member (see Exhibit M).

       37.     On January 5, 2023, a USAID official emailed PPT and said USAID would

provide an update on request number #F-00232-22 on or before January 12, 2023 (see Exhibit

M).

       38.     On January 5, 2023, a USAID official emailed PPT and said USAID was

experiencing a backlog of requests. USAID did not provide a schedule or anticipated date of

response (see Exhibit I).

       39.     On January 10, 2023, USAID emailed PPT and stated #F-00232-22 had been

updated to “In Process” (see Exhibit P).

       40.     The USAID has been silent regarding request number #F-00232-22 since January

10, 2023.

       41.     To date, USAID has not sent PPT a response to the request or a timeline or

estimate for when it will do so, or any other communication regarding the request.

       42.     Over 960 days have elapsed since USAID first received request number #F-00232-

22, yet USAID still has not made a determination with respect to it. See Citizens for Responsibility

and Ethics in Washington v. FEC, 711 F.3d 180 (D.C. Cir. 2013). USAID has not produced

responsive documents to PPT, has not communicated the scope of the documents it intends to

produce or withhold—along with the reasons for any withholding—and has not informed PPT of

its ability to appeal any adverse portion of its determination.

       43.     Given these facts, USAID has not met its statutory obligations to provide the

requested records.

                                  Request 3: IHR amendments



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       44.     On February 12, 2024, PPT submitted a FOIA request to USAID (attached as

Exhibit Q) seeking the following records:

                   From January 20, 2021, through the date this request is processed, records of
                   communications to, from, and including USAID officials on the list below
                   regarding the 2022 and 2024 International Health Regulations with:

                   1. Employees at the World Health Organization (email domain: ‘who.int’) and
                      the United Nations (email domain ‘un.org’) regarding the 2022 and 2024
                      International Health Regulations.
                   2. Officials at the White House (email domain: ‘eop.gov’).

                   Officials:
                   a) Administrator, Samantha Power
                   b) Chief of Staff, Dennis Vega
                   c) Deputy Administrator for Policy and Programming, Isobel Coleman
                   d) Director, Officer of Infectious Disease, Paul Mahanna
                   e) Assistant Administrator, Bureau for Humanitarian Assistance, Sarah
                      Charles
                   f) Director, Center for Innovation Impact, Global Health, Rachel Wood
                   g) Director, Office of Country Support, Global Health, Karla Fossand
                   h) Assistant Administrator, Legislative and Public Affairs, Jodi Herman
                   i) Assistant Administrator, Global Health, Atul Gawande
                   j) Director, Office of Health Systems, Mai Hijazi
                   k) Deputy Assistant Administrator, Global Health, Julie Wallace
                   l) Deputy Assistant Administrator, Global Health, Nidhi Bouri
                   m) Deputy Assistant Administrator, Global Health, Sangita Patel

       45.     Release of these records is in the public interest because it will contribute to the

public’s understanding of the health priorities federal officials are advocating for internationally.

       46.     On February 5, 2025, PPT sent USAID an email to USAID requesting a tracking

number for the request and a status update (attached as Exhibit R).

       47.     To date, USAID has not sent an acknowledgement of the request, tracking number,

timeline, or any other communication regarding the request.

       48.     Over 360 days have elapsed since USAID first received this request, USAID has

still not even acknowledge the request, let alone made a determination with respect to it. See

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Citizens for Responsibility and Ethics in Washington v. FEC, 711 F.3d 180 (D.C. Cir. 2013).

USAID has not produced responsive documents to PPT, has not communicated the scope of the

documents it intends to produce or withhold—along with the reasons for any withholding—and

has not informed PPT of its ability to appeal any adverse portion of its determination.

       49.     Given these facts, USAID has not met its statutory obligations to provide the

requested records.

                           Request 4: Global Health Security Strategy



       50.     On April 29, 2024, PPT submitted a FOIA request to USAID (attached as Exhibit

S) seeking the following records:

                        From January 20, 2022, through the date this request is processed, records
                        of communications to, from, and including the list of officials concerning
                        the Global Health Security Strategy.

                     Officials:
                     a) Atul Gawande, Assistant Administrator
                     b) Julie Wallace, Deputy Assistant Administrator
                     c) Nidhi Bouri, Deputy Assistant Administrator
                     d) Sangita Patel, Deputy Assistant Administrator
                     e) Carmen Coles, Deputy Assistant Administrator
                     f) David Walton, U.S. Global Malaria Coordinator

       51.     Release of these records is in the public interest because it will contribute to the

public’s understanding of the health priorities federal officials are advocating for internationally.

       52.     On February 5, 2025, PPT sent USAID an email to USAID requesting a tracking

number for the request and a status update (see Exhibit R).

       53.     To date, USAID has not sent an acknowledgement of the request, tracking number,

timeline, or any other communication regarding the request.




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       54.     Over 283 days have elapsed since USAID first received this request, USAID has

still not even acknowledge the request, let alone made a determination with respect to it. See

Citizens for Responsibility and Ethics in Washington v. FEC, 711 F.3d 180 (D.C. Cir. 2013).

USAID has not produced responsive documents to PPT, has not communicated the scope of the

documents it intends to produce or withhold—along with the reasons for any withholding—and

has not informed PPT of its ability to appeal any adverse portion of its determination.

       55.     Given these facts, USAID has not met its statutory obligations to provide the

requested records.


                                       Request 5: F-00376-24

       56.     On June 7, 2024, PPT submitted a FOIA request to USAID (attached as Exhibit T)

seeking the following records:

                          1. From December 1, 2022, through the date this request is processed,
                               records of communications to, from and including the list of officials
                               regarding the use of indigenous knowledge in the “USAID and
                               Indigenous Genetic Resources.”
                     Officials:
                     a) Administrator, Samantha Power
                     b) Acting Deputy Administrator for Management and Resources, Dennis Vega
                     c) Deputy Administrator for Policy and Programming, Isobel Coleman
                     d) Counselor, Clinton D. White
                     e) Chief of Staff, Rebecca Chalif
                     f) Assistant to the Administrator, Adetola Abiade
                     g) Assistant Administrator, Colleen Allen
                     h) Director, Kimberly Ball
                     i) Executive Secretary, Laila ElGohary
                     j) Chief Information Officer, Jason Gray
                     k) Chief Financial Officer, Reginald W. Mitchell
                     l) Senior Advisor for Climate Change, Candace M. Vahlsing
                     m) Advisor on Indigenous Peoples in the Inclusive Development Hub, Vy Lam
                     n) Indigenous Peoples Program Specialist, Sandra Lazarte

       57.     Release of these records is in the public interest because it will contribute to the

public’s understanding of the government’s public health priorities internationally.

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        58.     On January 22, 2025, USAID sent an email to PPT assigning the request the number

#F-00376-24 and updating its status to “In Progress” (attached as Exhibit U).

        59.     To date, USAID has not sent a timeline or other communication regarding the

request.

        60.     Over 244 days have elapsed since USAID first received this request, yet USAID

has still not made a determination with respect to it. See Citizens for Responsibility and Ethics in

Washington v. FEC, 711 F.3d 180 (D.C. Cir. 2013). USAID has not produced responsive

documents to PPT, has not communicated the scope of the documents it intends to produce or

withhold—along with the reasons for any withholding—and has not informed PPT of its ability to

appeal any adverse portion of its determination.

        61.     Given these facts, USAID has not met its statutory obligations to provide the

requested records.

                                            COUNT I
                               Violation of FOIA, 5 U.S.C. § 552
                     Wrongful Withholding of Non-Exempt Responsive Records

        62.     PPT repeats and incorporates by reference each of the foregoing paragraphs as if

fully set forth herein.

        63.     PPT’s requests were properly submitted requests for records within the possession,

custody, and control of USAID.

        64.     USAID is an agency subject to FOIA and therefore has an obligation to release any

non-exempt records and provide a lawful reason for withholding any materials in response to a

proper FOIA request.

        65.     USAID is wrongfully withholding non-exempt agency records requested by PPT

by failing to produce non-exempt records responsive to its request.


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       66.      USAID’s failure to provide all non-exempt responsive records violates FOIA.

       67.      Plaintiff PPT is therefore entitled to declaratory and injunctive relief requiring

USAID to promptly produce all non-exempt records responsive to its FOIA request and provide

an index justifying the withholding of any responsive records withheld under claim of exemption.

                                      REQUESTED RELIEF

Plaintiff PPT respectfully requests this Court:

       A. Assume jurisdiction in these matters and maintain jurisdiction until Defendant USAID

             complies with the requirements of FOIA and any and all orders of this Court.

       B. Order USAID to produce, within ten days of the Court’s order, or by other such date

             as the Court deems appropriate, any and all non-exempt records responsive to PPT’s

             requests and an index justifying withholding all or part of any responsive records that

             are withheld under claim of exemption.

       C. Award PPT the costs of this proceeding, including reasonable attorney’s fees and other

             litigation costs reasonably incurred in this action, pursuant to 5 U.S.C. § 552(a)(4)(E).

       D. Grant PPT other such relief as the Court deems just and proper.


       Dated: February 7, 2025                         Respectfully submitted,

                                                       PROTECT THE PUBLIC’S TRUST

                                                       By Counsel:
                                                       /s/ Karin M. Sweigart
                                                       Karin M. Sweigart
                                                       D.D.C. Bar ID: CA00145
                                                       DHILLON LAW GROUP, INC.
                                                       177 Post Street
                                                       Suite 700
                                                       San Francisco, CA 94108
                                                       415-433-1700
                                                       Email: ksweigart@dhillonlaw.com

                                                       Jacob William Roth

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                                  D.D.C. Bar ID: 1673038
                                  DHILLON LAW GROUP, INC.
                                  1601 Forum Plaza, Suite 403
                                  West Palm Beach, Florida 33401
                                  Telephone: 561-227-4959
                                  JRoth@Dhillonlaw.com

                                  Counsel for the Plaintiff




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